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Gnuited States District Court

Woston, Hlassachusetts 02210

MARK L. WOLF

CHIEF JUOGE

November 20, 2006

BY FEDERAL EXPRESS AND EMAIL

Dr. Stephen B. Levine

Center for Marital and Sexual Health
23230 Chagrin Boulevard

Suite 350

Beechwood, OH 44122-5022

Dear Dr. Levine:

Enclosed are the materials I have received from counsel
concerning the MMPI administered to Michelle Kosilek on October 7,
2005, and the Psychological Evaluation of Kosilek done in 1992,
which included a MMPI and reports other information as well.

With best wishes,

Sincerely yours,
Tere V2 WW
Mark L. Wolf

cc: Frances Cohen, Esq.
Richard McFarland, Esq.
